
USCA1 Opinion

	





          April 7, 1995         [NOT FOR PUBLICATION]
                                [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT                                 ____________________        No. 94-2218                                  KENNETH C. HAWLEY,                                Plaintiff, Appellant,                                          v.                       ATLANTIC CELLULAR TELEPHONE CORPORATION,                                 Defendant, Appellee.                                 ____________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                     [Hon. D. Brock Hornby, U.S. District Judge]
                                            ___________________                     [Hon. David M. Cohen, U.S. Magistrate Judge]
                                           _____________________                                 ____________________                                        Before                                Torruella, Chief Judge,
                                           ___________                            Bownes, Senior Circuit Judge,
                                    ____________________                              and Selya, Circuit Judge.
                                         _____________                                 ____________________            William C. Nugent,  with whom Wright &amp;  Nugent, P.A. was on  brief
            _________________             ______________________        for appellant.            Jerrol A. Crouter, with whom Daniel  J. Rose and Drummond  Woodsum
            _________________            _______________     _________________        &amp; McMahon were on brief for appellee.
        _________                                 ____________________                                 ____________________



                      PER  CURIAM.     Plaintiff-appellant,  Kenneth   C.
                      PER  CURIAM.
                      ___________            Hawley, brought suit against his former  employer, defendant-            appellee,  Atlantic  Cellular  Telephone Corp.,  for  damages            resulting   from   defendant's   termination  of   plaintiff.            Plaintiff, an  account executive  when discharged, brought  a            seven-count  complaint  alleging:     defamation  (Count  I);            intentional  infliction of  emotional  distress  (Count  II);            negligent  infliction  of  emotional  distress  (Count  III);            breach of  contract (Count IV);  invasion of privacy  for the            public  disclosure of  private facts  (Count V);  invasion of            privacy  for placing plaintiff in a false light in the public            eye (Count VI); and punitive damages (Count VII).                      At  the close  of  discovery,  defendant moved  for            summary judgment  on all counts  save the breach  of contract            claim.    The district  court  granted  summary judgment  for            defendant on all the  counts specified in defendant's motion.            The  contract claim (Count  IV) was  settled.   Plaintiff has            appealed only the judgments on the defamation claim (Count I)            and  the  negligent  infliction of  emotional  distress claim            (Count III).                      After carefully reading the  record and the briefs,            we  affirm the judgment of the district court for the reasons            stated in its order dated September 2, 1994.                      The judgment of the district court is AFFIRMED.
                                                            AFFIRMED
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